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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                  )
ATLAS, INC., et al.,              )     Case No.: 1:17-cv-01953-RDM
                                  )
             Plaintiffs,          )     Hon. Randolph D. Moss
                           v.     )
                                  )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                                  )
             Defendants.          )
~~~~~~~~~~)

    DEFENDANTS' MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 46:
  Screenshots of Flight P0218, August 27
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                                                                             x
Miscellaneous   Iools   Yiew




                                                                             46.1
                                                                                                                                                                  Page : 1
       ATLAS AIR                                        Crew Name changes on each flight leg Report
       Fri ,27 Oct 2017                                                          From 08/27/2017 To 08/27/2017                                                    Tirre : 15:05


       "On" Date "On" Time "For" Date Flight Leg Data                            Action        Crew Name                                         User who made the change
       08/08/2017    15:32    08/27/2017   218   PVG   ANC   21:15    6:10 744   Assigned      Berry, Douglas ( HSV - 744 - FO ) 450919          CHOUKRI SABBAGH
       08/19/2017    11:32                 218   PVG   ANC   21 :15   6:10 744   Assiqned      Bauer, Donald ( CVG - 744 - CA ) 450097           LEVON MELIKYAN
                     13:03                 218   PVG   ANC   21:15    6:10 744   Assigned      Viertel, Christopher (ORD - 744 - FO ) 451453     MARIDAUA SANGIOVANNY
       08/22/2017    11:31                 218   PVG   ANC   21:15    6:10 744   De-Assigned   Berry, Douglas ( HSV - 744 - FO ) 450919          TOMMY SANTIAGO
                     15:54                 218   PVG   ANC   21 :15   6:10 744   Assigned      Hamrrond, Rick ( LAX - 744 - FO ) 451771          TOMMY SANTIAGO
                     16:45                 218   PVG   ANC   21:15    6:10 744   De-Assigned   Hamrrond, Rick (LAX - 744 - FO ) 451771           TOMMY SANTIAGO
                     18 :47                218   PVG   ANC   21 :15   6:10 744   Assigned      Armstrong, Shiro (Tom) ( MIA - 744 - FO ) 45134   LEVON MELIKYAN
       08/24/2017    11:46                 218   PVG   ANC   21:15    6:10 PAX   Assigned      Tennesen, Reidar ( PAE - 744 - CA ) 2027          TOMMY SANTIAGO
                     12:00                 218   PVG   ANC   21:15    6:10 PAX   De-Assiqned   Tennesen, Reidar ( PAE - 744 - CA ) 2027          YANERIE MCLEE
       08/27/2017     0:14                 218   PVG   ANC   21:15    6:10 744   De-Assigned   Viertel, Christopher ( ORD - 744 - FO ) 451453    LORRIS LINTON
                     4:17                  218   PVG   ANC   21:15    6:10 744   Assigned      Mont alvo, Michael ( CVG - 744 - FO ) 450762      ANDREW KOLBUS
                     14:03                 218   PVG   ANC   21:15    6:10 744   De-Assigned   Montalvo, Michael ( CVG - 744 - FO ) 450762       LEVON MELIKYAN
                     16:07                 218   PVG   ANC   21 :15   6:10 744   De-Assigned   Armstrong, Shiro (Tom) ( MIA - 744 - FO ) 45134   YVONNE MCKENZIE
                     16:08                 218   PVG   ANC   21:15    6:10 744   De-Assigned   Bauer, Donald ( CVG - 744 - CA ) 450097           YVONNE MCKENZIE
         Selected Criteria
         "For" Date Selected                 Fro m 0 8/ 2 7/ 201 7 To 08 / 27 / 2017
         " On" Date S elec t e d             Any Da t es
         " On" Time Sele c ted               F r o m 0:00 To 23 : 5 9
         Fleet Selected                      ALL
         S o rt e d By                       Da te a nd time
         ~umber Of c h a nges Ma de          14
         Type Of Changes Mad e               Bo th
         Typ e Of Flights Re port e d        Bo th
                                                                                                                                                                                  Case 1:17-cv-01953-RDM Document 57-9 Filed 11/27/17 Page 3 of 16




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ATLAS AIR                                History of changes for crew route 08933 of 08/1 7/201 7                          Page: 1
Fri ,27 Oct 2017                                                                                                          Time : 14:58

Route created b y user 21 VINNY DEMAIO on 07/25/2017 _at 2 1:15:58 (job 51)
!Flight   Dep Arr STD      STA  Dep date TripDay DH Lim tbl. Rept Debr AC                         Hotel
QF7558      ORD    DFW   0545    0805     Thul 7Aug        1                               744
QF7558      DFW    LAX   1005    1310     Thul 7Aug        1                               744
DL1314      LAX    CVG   0545    1006     Fril8Aug         2    DH
P0246       CVG    HNL   1210    2110     Sat19Aug         3         B                     744
5Y8747      HIK    SUU   0025    0525     Mon21Aug         5                               744
L I M0490   SUU    SFO   0555    07 55    Mon21Aug         5    DH
UA300       SFO    HNL   2020    0138     Wed23Aug         7    DH
QF7550      HNL    SYD   1830    0440     Thu24Aug         8         B                     744
QF7589      SYD    PVG   1040    2120     Sat26Aug         10        B                     744
QF7521      PVG    ANC   1145    2005     Wed30Aug         14        B                     744
5Y4 1 31    ANC    CHS   2125    0430     Thu31Aug         15                              744
UA3485      CHS    ORD   1020    1245     FriOlSep         16   DH


Crew Complement                             : 1 FO     I

Route updated by user 302 MARK BOSTIC on 08/14/2017 at                   2:59:1 4   (Fl.i ght Schedul.e Changes)
IFl.ight    Dep    Arr   STD     STA      Dep date TripDay      DH   Lim tbl. Rept Debr AC        Hotel
QF7558      ORD    DFW   0545    0805     Thul 7Aug        1                               744
QF7558      DFW    LAX   1005    1310     Thul 7Aug        1                               744    COURTYARD EL SEGUNDO
DL1314      LAX    CVG   0545    1006     Fril8Aug         2    DH
P0246       CVG    HNL   1210    2110     Sat19Aug         3         B                     744
5Y8747      HIK    SUU   0025    0525     Mon21Aug         5                               744
LIM0490     SUU    SFO   0555    0755     Mon21Aug         5    DH
UA300       SFO    HNL   2020    0138     Wed23Aug         7    DH
QF7550      HNL    SYD   1830    0440     Thu24Aug         8         B                     744
QF7589      SYD    PVG   1040    2120     Sat26Aug         10        B                     744
QF7521      PVG    ANC   1145    2005     Wed30Aug         14        B                     744
5Y4131      ANC    CHS   2125    0430     Thu31Aug         15                              744
UA3485      CHS    ORD   1020    1 245    FriOlSep         16   DH


Cr ew Complement                            : 1 FO     I

Route updated by user 80 TOMMY SANTIAGO on 08/15/2017 at 14-: 14 : 54 (Fl.ight Schedule Changes)
IFl.ight    Dep    Arr   STD     STA      Dep date TripDay      DH   Lim tbl Rept Debr AC         Hotel.
QF7558      ORD    DFW   0545    0805     Thu l 7Aug       1                               744
QF7558      DFW    LAX   1005    1310     Thu l 7Aug       1                               744    COURTYARD EL SEGUNDO
QF7558      LAX    HNL   1510    2045     Thul 7Aug        1    DH                         744
5Y8963      HIK    DNA   1205    2115     Fril8Aug         2         B                     744
5Y8928      DNA    ANC   0225    1045     Sun20Aug         4         B                     74Y
AS874       ANC    HNL   2335    0545     Mon2 1Aug        5    DH
QF7550      HNL    SYD   1830    0440     Thu24Aug         8         B                     744
QF7589      SYD    PVG   1040    2120     Sat26Aug         10        B                     7 44
QF7521      PVG    ANC   1145    2005     Wed30Aug         14        B                     744
5Y4131      ANC    CHS   2125    0430     Thu31Aug         15                              744
UA3485      CHS    ORD   1 020   1245     FriOlSep         16   DH


Crew Complement                             : 1 FO     I

Route updated by user 157 4 STEPHANIE RIVERA on 08/15/2017 at 21 : 16 : 54 (Fl.ight Schedule Changes)
IFl.ight    Dep    Arr   STD     STA      Dep date TripDay      DH   Lim tbl. Rept Debr AC        Hotel.                     fnd
QF7558      ORD    DFW   0545    0805     Thul 7Aug        1                               744
QF7558      DFW    LAX   1005    1310     Thul 7Aug        1                               744    COURTYARD EL SEGUNDO
QF7558      LAX    HNL   1510    2045     Thul 7Aug        1    DH                         744
5Y8963      HIK    DNA   1205    2115     Fril8Aug         2         B                     744    MOON OCEAN GINOWAN
5Y8928      DNA    ANC   0225    1045     Sun20Aug         4         B                     74Y
AS874       ANC    HNL   2335    0545     Mon21Aug         5    DH

                                                                                                                         46.3
QF7550      HNL    SYD   1830    0440     Thu24Aug         8         B                     744
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ATLAS AIR                                History of changes for crew route 08933 of 08/17/2017                    Pag e : 2
Fri ,27 Oct 2017                                                                                                  Tim e: 14:58

QF7589      SYD    PVG    1040    2120    Sat26Aug        10        B                744
QF7521      PVG    ANC    1145    2005    Wed30Aug        14        B                744
5Y4131      ANC    CHS    2125    0430    Thu31Aug        15                         744
UA3485      CHS    ORD    1020    1245    Fri01Sep        16   DH


Crew Complement                             : 1 FO    I

Route updated by user 225 DARRELL GORDON on 08/16/2017 at 3 : 33:44 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC       Hotel                                    f nd
QF7558      ORD    LAX    0545    1000    Thul 7Aug       1                          744
QF7558      DFW    LAX    1005    1310 Thul 7Aug          1                          744   COURTYARD EL SEGUNOO
QF7558      LAX    HNL    1200    1735 Thul 7Aug          1    DH                    744
5Y8963      HIK    DNA    1205    2115    Fril8Aug        2         B                744   MOON OCEAN GINOWAN
5Y8928      DNA    ANC    0225    1045    Sun20Aug        4         B                74Y
AS874       ANC    HNL    2335    0545    Mon21Au g       5    DH
QF 7 550    HNL    SYD    1830    0440    Thu24Aug        8         B                744
QF7589      SYD    PVG    1040    2120    Sat26Aug        10        B                744
QF7521      PVG    ANC    1145    2005    Wed30Aug        14        B                744
5Y4131      ANC    CHS    2125    0430    Thu31Aug        15                         744
UA3485      CHS    ORD    1 020   1245    Fri01Sep        16   DH


Crew Complement                             : 1 FO    I
Status: UNFINALIZED


~oute updated by user 42 GARY HAAS on 08/16/2017 at 8:21:15 (Crew Routes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC                     Hotel
QF7558      ORD    LAX    0545    1000    Thul 7Aug       1                          744
QF7558      LAX    HNL    1200    1735    Thul 7Aug       1    DH                    744
5Y8963      HIK    DNA    1205    2115    Fril8Aug        2         B                744   MOON OC EAN GINOWAN
5Y8928      DNA    ANC    0225    1045    Sun20Aug        4         B                74Y
AS874       ANC    HNL    2335    0545    Mon21Aug        5    DH
QF7550      HNL    SYD    1830    0440    Thu24Aug        8         B                744
QF7589      SYD    PVG    1040    2120    Sat26Aug        10        B                744
QF7521      PVG    ANC    1145    2005    Wed30Aug        14        B                744
5Y4131      ANC    CHS    2125    0430    Thu31Aug        15                         744
UA3485      CHS    ORD    1 020   1245    Fri01Sep        16   DH


Crew Complement                             : 1 FO    I

Route updated by user 61 PETE GAVITTE on -08/lG/2017 at 14:20:35 (Aircraft Scheduling/Movement Control)
'Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC       Hotel
QF7558      ORD    LAX    0545    1000    Thul 7Aug       1                          744
QF7558      LAX    HN L   1200    1735 Thu l 7Aug         1    DH                    744
5Y8963      HIK    DNA    1205    2115 Fri18Aug           2         B                744   MOON OCEAN GINOWAN
5Y8928      DNA    ANC    0225    1045 Sun20Aug           4         B                74Y
AS8 7 4     ANC    HNL    2335    0545 Mon21Au g          5    DH
QF7550      HNL    SYD    1830    0440 Thu24Aug           8         B                744
QF7589      SYD    PVG    1040    2120 Sat26Aug           10        B                744
QF7521      PVG    ANC    1145    2005 Wed30Aug           14        B                744
5Y4131      ANC    CHS    2125    0430 Thu31Aug           15                         744
UA3485      CHS    ORD    1020    1245 Fri01Sep           16   DH


Crew Complement                             : 1 FO    I
Status: UNFINALIZED



Route updated by user 440 AMIR KHAN on 08/16/2017 at 15 : 35:39 (Crew Routes)

                                                                                                                 46.4
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IFl.ight    Dep    Arr    STD      STA       Dep date TripDay DH        Lim tbl. Rept Debr AC    Hotel.
QF7558      ORD    LAX    0545     1000      Thul 7Aug        1                            744
AS129       LAX    ANC    1630     2200      Fril8Aug         2    DH
AS874       ANC    HNL    2335     0545      Mon21Aug         5    DH
QF7550      HNL    SYD    1830     0440      Thu24Aug         8         B                  744
QF7589      SYD    PVG    1040     2120      Sat26Aug         10        B                  744
QF7521      PVG    ANC    1145     2005      Wed30Aug         14        B                  744
5Y4131      ANC    CHS    2125     0430      Thu31Aug         15                           744
UA3485      CHS    ORD    1020     1245      Fri01Sep         16   DH


Crew Complement                                : 1 FO     I

Route updated by user 1028 SHIKEB SIDDIQI on 08/16/2017 at 16:19 : 29 (Fl.ight Schedul.e Changes)
IFl.ight  Dep Arr STD     STA Dep date TripDay DH Lim tbl. Rept Debr AC        Hotel.
QF 7558     ORD    LAX    0545     1000      Thu l 7Aug       1                            744
AS129       LAX    ANC    1630     2200      Fri18Aug         2    DH                            SHERATON ANCHORAGE
AS874       ANC    HNL    2335     0545      Mon21Aug         5    DH
QF7550      HNL    SYD    1830     0440      Thu24Aug         8         B                  744
QF7589      SYD    PVG    1040     2120      Sat26Aug         10        B                  744
QF7521      PVG    ANC    1145     2005      Wed30Aug         14        B                  744
5Y413 1     ANC    CHS    2125     0430      Thu31Aug         15                           744
UA3485      CHS    ORD    1020     1245      Fri01Sep         16   DH


Crew Complement                                : 1 FO     I

Route updated by user 81 JAMES CAPRARO on 08/16/2017 at 17:46:36 (Aircraft Schedul.ing/Movement Control.)
IFl.ight  Dep Arr STD     STA Dep date TripDay DH Lim tbl. Rept Debr AC     Hotel.                    f nd
QF7558      ORD    LAX    0910     1325      Thul7Aug         1                            744
AS129       LAX    ANC    1630     2200      Fri l 8Aug       2    DH                            SHERATON ANCHORAGE
AS874       ANC    HNL    2335     0545      Mon21Aug         5    DH
QF7550      HNL    SYD    1830     0440      Thu24Aug         8         B                  744
QF7589      SYD    PVG    1040     2120      Sat26Aug         10        B                  744
QF7521      PVG    ANC    1145     2005      Wed30Aug         14        B                  744
5Y4131      ANC    CHS    2125     0430      Thu31Aug         15                           744
UA3485      CHS    ORD    1020     1245      FriOlSep         16   DH


Crew Compl ement                                 1 FO     I

Route updated by user 43 MARIDALIA SANGIOVANNY on 08/16/2017 at 18:00:22 (Fl.ight Schedul.e Changes)
IFl.ight  Dep Arr STD     STA Dep date TripDay DH Lim tbl. Rept Debr AC     Hotel                                          f nd
QF7558      ORD    LAX    0910     1325 Thul 7Aug             1                            744
DL2756      LAX    SFO    1600     1743 Thul 7Aug             1    DH
5Y2838      SFO    I CN   1000     2145 Sun20Aug              4         B                  744
5Y2848      ICN    LAX    1 400    0 12 5 Mon21Aug            5    DH   B                  744
AA3 1       LAX    HN L   1 520    2124 Wed23Aug              7    DH
QF7550      HNL    SYD    1830     0440 Thu24Aug              8         B                  744
QF7 589     SYD    PVG    1040     2120 Sat26Aug              10        B                  744
QF7521      PVG    ANC    114 5    2005 Wed30Aug              14        B                  744
5Y4131      ANC    CHS    2 1 25   0430 Thu31Aug              15                           744
UA3485      CHS    ORD    1020     1245 Fri01Sep              16   DH


Crew Complement                                : 1 FO     I

Route updated by user 521 CHRISTINE NESTOR on 08/16/2017 at 18:06:55 (Flight Schedul.e Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel.                                         f nd
QF 7558     ORD    LAX    0910     1325      Thul 7Aug        1                            744
DL2756      LAX    SFO    1600     1 7 43    Thul 7Aug        1    DH
5Y2838      SFO    ICN    1000     2145      Sun20Aug         4         B                  744

                                                                                                                      46.5
5Y2848      ICN    LAX    1400     0125      Mon21Aug         5    DH   B                  744
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DL122       LAX    HNL   1500    2100      Wed23Aug        7    DH
QF7550      HNL    SYD   1830    0440      Thu24Aug        8         B                744
QF7589      SYD    PVG   1040    2120      Sat26Aug        10        B                744
QF7521      PVG    ANC   1145    2005      Wed30Aug        14        B                744
5Y4131      ANC    CHS   2125    0430      Thu31Aug        15                         744
UA3485      CHS    ORD   1020    1245      FriOlSep        16   DH


Crew Complement                              : 1 FO    I

Route updated by user 61 PETE GAVITTE on 08/16/2017 at 18 :4 0 : 56 (Aircraft Scheduling/Movement Control)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC          Hotel
QF7558      ORD    LAX   0910    1300      Thul 7Aug       1                          744
DL2756      LAX    SFO   1600    1743      Thul7Aug        1    DH
5Y2838      SFO    ICN   1000    2145      Sun20Aug        4         B                744
5Y2848      ICN    LAX   1400    0125      Mon21Aug        5    DH   B                744
DL122       LAX    HNL   1500    2100      Wed23Aug        7    DH
QF7550      HNL    SYD   1830    0440      Thu24Aug        8         B                744
QF7589      SYD    PVG   1040    2120      Sat26Aug        10        B                744
QF752 1     PVG    ANC   1145    2005      Wed30Aug        14        B                744
5Y4 1 3 1   ANC    CHS   2125    0430      Thu31Aug        15                         744
UA3485      CHS    ORD   1020    1245      Fri 01Sep       16   DH


Crew Complement                                1 FO    I

Route updated by user 43 MARIDALIA SANGIOVANNY on 08/16/2017 at 19:14:47 (Flight Schedule Changes)
I
Flight    Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel                           f nd
QF7558      ORD    LAX   0910    1300      Thul 7Aug       1                          744
DL2756      LAX    SFO   1600    1743 Thul 7Aug            1    DH
5Y2838      SFO    ICN   1000    2145 Sun20Aug             4         B                744
5Y2848      ICN    LAX   1400    0125 Mon21Aug             5         B                744
DL122       LAX    HNL   1500    2100 Wed23Aug             7    DH
QF7550      HNL    SYD   1830    0440 Thu24Aug             8         B                744
QF7589      SYD    PVG   1040    2120 Sat26Aug             10        B                744
QF7521      PVG    ANC   1145    2005 Wed30Aug             14        B                744
5Y4131      ANC    CHS   2125    0430 Thu31Aug             15                         744
UA3485      CHS    ORD   1020    1245 FriOlS ep            16   DH


Crew Complement                              : 1 FO    I

Route updated by user 1213 YANERIE MCLEE on 08/17/2017 at 14:33:7 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel
QF7558      ORD    LAX   0910    1300      Thul 7Aug       1                          744
DL4969      LAX    SFO   1800    1933      Thul 7Aug       1    DH
5Y2838      SFO    ICN   1000    2145      Sun20Aug        4         B                744
5Y2848      ICN    LAX   1400    0125      Mon21Aug        5         B                744
DL122       LAX    HNL   1 500   2100      Wed23Aug        7    DH
QF7550      HNL    SYD   1 830   0440      Thu24Aug        8         B                744
QF7589      SYD    PVG   1 040   2 1 20    Sat26Aug        10        B                744
QF7521      PVG    ANC   1145    2005      Wed30Aug        14        B                744
5Y4131      ANC    CHS   2125    0430      Thu31Aug        15                         744
UA3485      CHS    ORD   1020    1245      Fri OlSep       16   DH


Crew Compl ement                               1 FO    I

Route updated by user 43 MARIDALIA SANGIOVANNY on 08/19/2017 at 17 : 03 : 26 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Li m tbl Rept Debr AC        Hotel                         f nd
QF7558      ORD    LAX   0910    1300      Thul 7Aug       1                          744
DL4969      LAX    SFO   1 800   1933      Thul 7Aug       1    DH
5Y2838      SFO    ICN   1000    2145      Sun20Aug        4         B                744
                                                                                                    46.6
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5Y2848      ICN    LAX    1400    0125      Mon21Aug        5         B                744
DL1 22      LAX    HNL    1500    2100      Wed23Aug        7    DH
QF7550      HNL    SYD    1830    0440      Thu24Aug        8         B                744
QF7589      SYD    PVG    1 040   2 1 20    Sat26Aug        10        B                744
P0218       PVG    ANC    2115    0610      Sun27Aug        11        B                744
5Y413 1     ANC    CHS    2125    0430      Thu31Aug        15                         744
UA3485      CHS    ORD    1020    1245      FriOlSep        16   DH


Crew Complement                               : 1 FO    I

Route updated by user 1186 CHRISTINE TENEFRANCIA on 08/23/2017 at 1 1:20:17 (Air craft Scheduling/Movement
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tblRept Debr AC        Hotel                     fnd
QF7558      ORD    LAX    0910    1300      Thul 7Aug       1                          744
DL4969      LAX    SFO    1800    1933      Thul 7Aug       1    DH
5Y2838      S FO   ICN    1000    2145      Sun20Aug        4         B                744
5Y2848      I CN   LAX    1400    0125      Mon21Aug        5         B                744
DL122       LAX    HN L   1500    2100      Wed23Aug        7    DH
QF7550      HNL    SYD    1 830   0440      Thu24Aug        8         B                744
QF7589      SYD    PVG    1040    2120      Sat26Aug        10        B                744
P0218       PVG    ANC    2115    0610      Sun27Aug        11        B                744
5Y4131      ANC    CHS    2125    0430      Thu31Aug        15                         744
UA3485      CHS    ORD    1020    1245      Fri 01Sep       16   DH


Crew Complement                               : 1 FO    I
Status: UNFINALIZED



Route updated by user 80 TOMMY SANTIAGO on 08/23/2017 at 13 :-15: 47 (Crew Routes)
[Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC         Hotel
QF7558      ORD    LAX    0910    1300      Thul 7Aug       1                          744
DL4969      LAX    SFO    1800    1933      Thul 7Aug       1    DH
5Y2838      SFO    ICN    1000    2145      Sun20Aug        4         B                744
5Y2848      ICN    LAX    1400    0125      Mon21Aug        5         B                744
DL1 22      LAX    HNL    1500    2100      Wed23Aug        7    DH
QF7550      HNL    SYD    1830    0440      Thu24Aug        8         B                744
QF7589      SYD    PVG    1040    2 1 20    Sat26Aug        10        B                744
P0218       PVG    ANC    2115    0610      Sun27Aug        11        B                744
P0752       ANC    CVG    0840    1450      Tue29Aug        13        B                744
UA5212      CVG    ORD    1000    1123      Fri01Sep        16   DH


Crew Complement                               : 1 FO    I

Route updated by user 856 SAMUEL CHARIAH on 68/2 4/2017 at 9:48:48 (Aircraft Scheduling/Movement
[Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel
QF7558      ORD    LAX    0910    1300      Thul 7Aug       1                          744
DL4969      LAX    SFO    1800    1933      Thul 7Aug       1    DH
5Y2838      SFO    ICN    1000    2145      Sun20Aug        4         B                744
5Y2848      I CN   LAX    1400    0125      Mon21Aug        5         B                744
DL122       LAX    HNL    1500    2 1 00    Wed23Aug        7    DH
QF7550      HNL    SYD    1845    0455      Thu24Aug        8         B                744
QF7589      SYD    PVG    1040    2120      Sat26Aug        10        B                744
P0218       PVG    ANC    2115    06 1 0    Sun27Aug        11        B                744
P0752       ANC    CVG    0840    1450      Tue29Aug        13        B                744
UA5212      CVG    ORD    1000    1123      Fri01Sep        16   DH


Crew Complement                               : 1 FO    I

Route updated by user BO TOMMY SANTIAGO on 08/24/2017 at 22:12:22 (Flight Schedul e Changes)

                                                                                                   46.7
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IFlight     Dep    Arr    STD      STA       Dep date TripDay       DH   Lim tbl Rept Debr AC    Hotel
QF7558      ORD    LAX    0910     1300      Thul 7Aug         1                           744
DL4969      LAX    S FO   1800     1933      Thul 7Aug         1    DH
5Y2838      S FO   ICN    1000     2145      Su n20Aug         4         B                 744
5Y2848      ICN    LAX    1400     01 25     Mon21Aug          5         B                 744
DL122       LAX    HNL    1500     2100      Wed23Aug          7    DH
QF7550      HNL    SYD    1 845    0455      Thu24Aug          8         B                 744
QF7589      SYD    PVG    1 040    2120      Sat26Aug          10        B                 744
P0218       PVG    ANC    2115     06 1 0    Sun27Aug          11        B                 744
P0998       ANC    CVG    2255     0505      Mon28Aug          12        B                 744
UA5212      CVG    ORD    1000     1123      FriOlSep          16   DH


Crew Complement                                : 1 FO      I

Route updated by user 1058 UBONG MORGAN on 08/25/2017 at 7:34:28 (Aircraft Scheduli ng/Movement Control)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC     Hotel
QF7 558     ORD    LAX    09 1 0   1300      Thu l 7Aug        1                           744
DL4969      LAX    S FO   1 800    1933 Thu l 7Aug             1    DH
5Y2838      S FO   I CN   1 000    2145 Su n20Aug              4         B                 744
5Y2848      I CN   LAX    1400     0125 Mon21Au g              5         B                 744
DL1 22      LAX    HN L   1 500    2100 Wed23Au g              7    DH
QF7550      HNL    SYD    1 845    0455 Thu24Au g              8         B                 744
QF7589      SYD    PVG    2215     0855 Sat26Aug               10        B                 744
P0218       PVG    ANC    2115     0610 Sun27Aug               11        B                 744
P0998       ANC    CVG    2255     0505 Mon28Aug               12        B                 744
UA5212      CVG    ORD    1000     1123 Fri 0 1 Sep            16   DH


Crew Complement                                : 1 FO      I

Route updated by user 1184 LORRIS LINTON on 08/27/2017 at 2 : 21 : 33 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC         Hotel
QF7558      ORD    LAX    0910     1300      Thu l 7Aug        1                           744
DL4969      LAX    SFO    1800     1933      Thul 7Aug         1    DH
5Y2838      SFO    ICN    1000     2145      Sun20Aug          4         B                 744
5Y2848      ICN    LAX    1400     012 5     Mon21Aug          5         B                 744
DL1 22      LAX    HN L   1 500    2100      Wed23Aug          7    DH
QF7550      HNL    SYD    1 845    0455      Thu24Aug          8         B                 744
FTG         SY D   SYD    22 1 3   22 1 4    Sa t 26Aug        10
QF7589      SYD    PVG    2215     0855      Sa t 26Au g       10        B                 744
P0218       PVG    ANC    2115     0610      Sun27Au g         11        B                 744
P0998       ANC    CVG    2255     0505      Mon28Aug          12        B                 744
UA5212      CVG    ORD    1000     1123      Fri01Sep          16   DH


Crew Complement                                : 1 FO      I

Route updated by user 1058 UBONG MORGAN on 08/27/2017 at 3 : 11:21 (Aircraft Scheduling/Movement Control)             ~

!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC       Hotel
QF 7558     ORD    LAX    0910     1300      Thul 7Au g        1                           744
DL4969      LAX    SFO    1800     1933      Th ul 7Aug        1    DH
5Y2838      S FO   ICN    1 000    2145      Sim20Aug          4         B                 744
5Y2848      ICN    LAX    1 400    0 1 25    Mon21Aug          5         B                 744
DL122       LAX    HN L   1 500    2100      Wed23Aug          7    DH
QF7550      HNL    SYD    1 845    0455      Thu24Aug          8         B                 744
FTG         SYD    SYD    2213     2214      Sa t 26Au g       10
QF7589      SYD    PVG    2215     0855 Sat26Aug               10        B                 744
P0218       PVG    ANC    2115     06 1 0 Sun27Aug             11        B                 744
P0998       ANC    CVG    2255     0505 Mon28Aug               12        B                 744
UA5212      CVG    ORD    1000     1123 Fri01Sep               16   DH

                                                                                                         46.8
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Crew Complement                                  1 FO    I
Status : UNFINALIZED


Route updated by user 1184 LORRIS LINTON on 08/27/2017 at 4 : 14:30 (Flight Schedule Changes)
!Flight - Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC       Hotel
QF7558      ORD     LAX    0910    1300      Thu17Aug        1                           744
DL4969      LAX     SFO    1800    1933      Thul 7Aug       1    DH
5Y2838      SFO     ICN    1000    2145      Sun20Aug        4         B                 744
5Y2848      ICN     LAX    1400    0125      Mon21Aug        5         B                 744
DL122       LAX     HNL    1500    2100      Wed23Aug        7    DH
QF7550      HNL     SYD    1845    0455      Thu24Aug        8         B                 744
FTG         SYD     SYD    2213    2214      Sat26Aug        10
QF7589      SYD     PVG    0345    0554      Sun27Aug        11        B                 744
P0998       PVG     ANC    1245    2 1 40    Tue29Aug        13   DH                     748
P0998       ANC     CVG    2255    0505      Tue29Aug        13   DH                     748
UA5212      CVG     ORD    1000    11 23     Fri01Sep        16   DH


Crew Complement                                : 1 FO    I

Route updated by user 660 MARTIN-DEPORUS HOWE on 08/27/2017 at 8:3l : 47 (Air craft Scheduling/Mov ement
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC        Hotel                     f nd
QF7558      ORD     LAX    0910    1300      Thul 7Aug       1                           744
DL4969      LAX     SFO    1800    1933      Thul 7Aug       1    DH
5Y2838      SFO     ICN    1000    2145      Sun20Aug        4         B                 744
5Y2848      ICN     LAX    1400    0125      Mon21Aug        5         B                 744
DL122       LAX     HN L   1 500   2100      Wed23Aug        7    DH
QF7550      HNL     SYD    1845    0455      Thu24Aug        8         B                 744
FTG         SYD     SYD    2213    2214      Sat26Aug        10
QF7589      SYD     PVG    0345    0554      Sun27Aug        11        B                 744
P0998       PVG     ANC    1615    0110      Tue29Aug        13   DH                     748
P0998       ANC     CVG    2255    0505      Tue29Aug        13   DH                     748
UA5212      CVG     ORD    1000    1123      FriOlSep        16   DH


Crew Complement                                : 1 FO    I
Status: UNFINALIZED


Route updated by user 1503 ANDREW KOLBUS on 08/27/201 7 at 8:37 : 9 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC        Hotel
QF7558      ORD     LAX    0910    1300      Thul 7Aug       1                           744
DL4969      LAX     S FO   1800    1933      Thul 7Aug       1    DH
5Y2838      SFO     ICN    1000    2145      Sun20Aug        4         B                 7 44
5Y2848      ICN     LAX    1400    0125      Mon21Aug        5         B                 744
DL122       LAX     HNL    1500    2100      Wed23Aug        7    DH
QF7550      HNL     SYD    1845    0455      Thu24Aug        8         B                 744
FTG         SYD     SYD    2213    2214      Sat26Aug        10
QF7589      SYD     PVG    0345    0554      Sun27Aug        11        B                 744
P0998       PVG     ANC    1615    0110      Tue29Aug        13   DH                     748
P0998R      ANC     CVG    0210    0820      Wed30Aug        14   DH                     748
UA5212      CVG     ORD    1000    1123      Fri01Sep        16   DH


Crew Comp l ement                              : 1 FO    I

Route updated by user 660 MARTIN-DEPORUS HOWE on 08/27/2017 at 11 : 39:27 (Air c r aft Scheduling/Mov ement
jFlight   Dep Arr STD     STA Dep date TripDay DH Lim tblRept Debr AC          Hotel                       f nd
QF7558      ORD     LAX    0910    1300      Thul7Aug        1                           744
DL4969      LAX     SFO    1800    1933      Thul 7Aug       1    DH
5Y2838      SFO     ICN    1000    2145      Sun20Aug        4         B                 744
                                                                                                      46.9
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5Y2848      ICN    LAX    1400    0125    Mon21Aug         5         B               744
DL122       LAX    HNL    1500    2100    Wed23Aug         7    DH
QF7550      HNL    SYD    1845    0455    Thu24Aug         8         B               744
FTG         SYD    SYD    2213    2214    Sat26Aug         10
QF7589      SYD    PVG    0345    0554    Sun27Aug         11        B               744
P0998       PVG    ANC    1245    2140    Tue29Aug         13   DH                   748
P0998R      ANC    CVG    0210    0820    Wed.30Aug        14   DH                   748
UA5212      CVG    ORD    1000    1123    Fri01Sep         16   DH


Crew Complement                             : 1 FO     I
Status: UNFINALIZED



Route updated by user 43 MARIDALIA SANGIOVANNY on 08/27/2017 at 13 : 01:55 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC        Hotel                        f nd
QF7558      ORD    LAX    0910    1300    Thul 7Aug        1                         744
DL4969      LAX    SFO    1 800   1933    Thul 7Aug        1    DH
5Y2838      SFO    ICN    1000    2145    Sun20Aug         4         B               744
5Y2848      ICN    LAX    1400    0125    Mon21Aug         5         B               744
DL122       LAX    HNL    1500    2100    Wed23Aug         7    DH
QF7550      HNL    SYD    1845    0455    Thu24Aug         8         B               744
FTG         SYD    SYD    2213    2214    Sat26Aug         10
QF7589      SYD    PVG    0345    0554    Sun27Aug         11        B               744
P0998       PVG    ANC    1245    2140    Tue29Aug         13   DH                   748
5Y534       ANC    ORD    0730    1305    FriOlSep         16   DH                   744


Crew Complement                             : l   FO   I

Route updated by user 422 BENNY MOSES on 08/27/2017 at 1 4 :28:34 (Aircraft Scheduling/Movement Control)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC        Hotel
QF7 558     ORD    LAX    0910    1300    Thul 7Aug        1                         7 44
DL4969      LAX    SFO    1800    1933    Thul 7Aug        1    DH
5Y2838      SFO    ICN    1000    2145    Sun20Aug         4         B               744
5Y2848       ICN   LAX    1400    0125    Mon21Aug         5         B               744
DL122       LAX    HNL    1500    2100    Wed23Aug         7    DH
QF7550      HNL    SYD    1845    0455    Thu24Aug         8         B               744
FTG          SYD   SYD    2213    2214    Sat26Aug         10
QF7589       SYD   PVG    0935    1230    Sun27Aug         11        B               744
P0998        PVG   ANC    1245    2140    Tue29Aug         13   DH                   748
5Y534       ANC    ORD    0730    1305    Fri01Sep         16   DH                   744


Crew Complement                             : 1 FO     I

Route updated by user 422 BENNY MOSES on 08/27/2017 at 14:50:39 (Aircraft Scheduling/Movement Control)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel                    ~nd
QF7558      ORD    LAX    0910    1300    Thul7Aug         1                         744
DL4969       LAX   S FO   1800    1933    Thul 7Aug        1    DH
5Y2838       SFO   I CN   1000    2145    Sun20Aug         4         B               744
5Y2848       ICN   LAX    1400    0125    Mon21Aug         5         B               744
DL122       LAX    HNL    1500    2100    Wed23Aug         7    DH
QF7550       HNL   SYD    1 845   0455    Thu24Aug         8         B               744
FTG          SYD   SYD    2213    2214    Sat26Aug         10
QF 7589      SYD   PVG    0935    1144    Sun27Aug         11        B               744
P0998        PVG   ANC    1245    2140    Tue29Aug         13   DH                   748
5Y534       ANC    ORD    0730    1305    Fri01S ep        16   DH                   744


Crew Complement                             : 1 FO     I

Route updated by user 422 BENNY MOSES on 08/27/2017 at 15:23:26 (Aircraft Scheduling/Movement Control)
                                                                                                 46.10
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IFlight     Dep    Arr   STD     STA      Dep date TripDay      DH   Lim tbl Rept Debr AC     Hotel
QF7558      ORD    LAX   0910 1300        Thul 7Aug        1                           7 44
DL4969      LAX    SFO   1800 1933        Thul 7Aug        1    DH
5Y2838      SFO    ICN   1000 2145        Sun20Aug         4         B                 744
5Y2848      I CN   LAX   1400 0125        Mon2 1Aug        5         B                 744
DL122       LAX    HNL   1500 2100        Wed23Aug         7    DH
QF7550      HNL    SYD   1845 0455        Thu24Aug         8         B                 744
FTG         SYD    SYD   2213 2214        Sat26Aug         10
QF7589      SYD    PVG   0945 1154        Sun27Aug         11        B                 744
P0998       PVG    ANC   1245 2140        Tue29Aug         13   DH                     748
5Y534       ANC    ORD   0730 1305        Fri01Sep         16   DH                     744


Crew Complement                             : 1 FO     I

Route updated by user 59 PAUL PAISLEY on 08/27/2017 at 16:56:8 (Aircraft Scheduling/Movement Control)
IFlight - Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel
QF7558      ORD    LAX   0910    1300 Thul 7Aug            1                           744
DL4969      LAX    SFO   1800    1933 Thul 7Aug            1    DH
5Y2838      SFO    ICN   1000    2145 Sun20Aug             4         B                 744
5Y2848      ICN    LAX   1400    0125 Mon21Aug             5         B                 744
DL122       LAX    HNL   1500    2100 Wed23Aug             7    DH
QF7550      HNL    SYD   1845    0455 Thu24Aug             8         B                 744
FTG         SYD    SYD   2213    2214 Sat26Aug             10
QF7589      SYD    PVG   0945    1154 Sun27Aug             11        B                 744
P0998       PVG    ANC   1245    2140 Tue29Aug             13   DH                     744
5Y534       ANC    ORD   0730    1305 Fri01Sep             16   DH                     744


Crew Complement                               1 FO     I

Route updated by user 43 MARIDALIA SANGIOVANNY on 08/27/2017 at 21:07 : 16 (Flight Schedule Changes)
jFlight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC       Hotel                         ~nd
QF7558      ORD    LAX   0910    1300 Thul 7Aug            1                           744
DL4969      LAX    SFO   1800    1933 Thul 7Aug            1    DH
5Y2838      SFO    ICN   1000    2145 Sun20Aug             4         B                 744
5Y2848      ICN    LAX   1400    0125 Mon21Aug             5         B                 744
DL122       LAX    HNL   1500    2100 Wed23Aug             7    DH
QF7 550     HNL    SYD   1 845   0455 Thu24Aug             8         B                 744
FTG         SYD    SYD   2213    2214 Sat26Aug             10
QF7589      SYD    PVG   0945    1154 Sun27Aug             11        B                 744
P0998       PVG    ANC   1245    2140 Tue29Aug             13        B                 744
5Y534       ANC    ORD   0730    1305 Fri01Sep             16   DH                     744


Crew Complement                             : 1 FO     I

Route updated by user 2061 TARA DRANFIELD on 08/29/2017 at 13:38:46 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel
QF7558      ORD    LAX   0910    1300     Thul 7Aug        1                           744
DL4969      LAX    SFO   1800    1933     Thul 7Aug        1    DH
5Y2838      SFO    ICN   1000    2145     Sun20Aug         4         B                 744
5Y2848      I CN   LAX   1400    0125     Mon2 1Aug        5         B                 744
DL122       LAX    HNL   1500    2100     Wed23Aug         7    DH
QF7550      HNL    SYD   1845    0455     Thu24Aug         8         B                 744
FTG         SYD    SYD   2213    2214     Sat26Aug         10
QF7589      SYD    PVG   0945    1154     Sun27Aug         11        B                 744
P0998       PVG    ANC   1245    2140     Tue29Aug         13        B                 744
5Y4136      ANC    CHS   1525    2230     Thu31Aug         15                          744
AA5041      CHS    CLT   1519    1 632    FriOlSep         16   DH
UA4462      CLT    ORD   1743    1944     Fr i 01Sep       16   DH

                                                                                                      46.11
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Crew Complement                     : 1 FO    I

~oute updated by user 1919 BARBARA BROAS on 08/29/2017 at 21 :22:35 (Aircraft Scheduling/Movement
!Flight   Dep Arr STD     STA  Dep date TripDay DH Lim tbl Rept Debr AC      Hotel                       f nd
QF7558    ORD LAX 0910 1300 Thul 7Aug      1                           744
DL4969    LAX SFO 1800 1933 Thul 7Aug      1     DH
 5Y2838   SFO ICN 1000 2145 Sun20Aug       4          B                744
 5Y2848   ICN LAX 1400 01 25 Mon21Aug      5          B                744
DL1 22    LAX HNL 1500 2100 Wed23Aug       7     DH
QF7550    HNL SYD 1845 0455 Thu24Aug       8          B                744
 FTG      SYD SYD 2213 2214 Sat26Aug       10
QF7589    SYD PVG 0945 1154 Sun27Aug       11         B                744
 P0998    PVG ANC 1245 2140 Tue29Aug       13         B                744
 5Y4136   ANC CHS 1925 0230 Thu 31Aug      15                          744
AA5041    CHS CLT 1519 1 632 Fri01Sep      16     DH
UA4462    CLT ORD 1743 1944 Fri01Sep       16     DH


Crew Complement                     : 1 FO    I

Route updated by user 1919 BARBARA BROAS on 08/29/2017 at 21 : 58 : 5 (Aircraft Scheduling/Movement Control)
!Flight   Dep Arr STD     STA  Dep date TripDay DH Lim tblRept Debr AC          Hotel                    f nd
QF7558    ORD LAX 0910 1300 Thul 7Aug      1                              744
DL4969    LAX SFO 1800 1933 Thul7Aug       1     DH
 5Y2838   SFO ICN 1000 2145 Sun20Aug       4          B                   744
 5Y2848   ICN LAX 1400 0125 Mon21Aug       5          B                   744
DL122     LAX HNL 1500 2100 Wed23Aug       7     DH
QF7550    HNL SYD 1845 0455 Thu 24Aug      8          B                   744
 FTG      SYD SYD 2213 2214 Sat26Aug       10
QF7589    SYD PVG 0945 1154 Sun27Aug       11         B                   744
 P0998    PVG  ANC  1245  2140  Tue29Aug   13         B                   744
5Y4136    ANC CHS 2125 0430 Thu31Aug       15                             744
AA504 1   CHS CLT 1519 163 2 Fri01Sep      16     DH
UA4462    CLT ORD 17 43 1944 Fri01Sep      16    DH


Crew Compleme nt                    : 1 FO    I

Route updated by user 1433 YAN   KRAVETS on 08/30/2017 at 2:27 : 16 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA    Dep date TripDay DH Lim tbl Rept Debr AC      Hotel
QF7558    ORD LAX 0910 1300      Thul7Aug    1                            744
DL4969    LAX SFO 1800 1933       Thul 7Aug       1    DH
5Y2838    SFO ICN 1000 2145       Sun20Aug        4         B                744
5Y2848    ICN LAX 1400 0125       Mon21Aug        5         B                744
DL122     LAX HNL 1500 2100       Wed23Aug        7    DH
QF7550    HNL SYD 1845 0455       Thu24Aug        8         B                744
 FTG      SYD SYD 2213 2214       Sat26Aug        10
QF7589    SYD PVG 0945 1154       Sun27Aug        11        B                744
 P0998    PVG ANC 1245 2140       Tu e29Aug       13        B                744
 5Y4 1 36 ANC CHS 2125 0430       Thu31Aug        15                         744
AA1739    CHS CLT 1657 1806       Fri 01Sep       16   DH
AA2055    CLT ORD 1855 2109       Fri01Sep        16   DH


Crew Compleme nt                    : 1 FO    I

Route updated by user 1919 BARBARA BROAS on 08/30/2017 at 12:12:31 (Aircraft Scheduling/Movement
!Flight   Dep Arr STD     STA  Dep date TripDay DH Lim tbl Rept Debr AC     Hotel                        f nd
QF7558    ORD LAX 0910 1300 Thul 7Aug      1                          744
DL4969    LAX SFO 1800 1933 Thul7Aug       1     DH
5Y2838    SFO   ICN 1000  2145  Sun20Aug   4          B               744
                                                                      744
                                                                                                  46.12
5Y2848    ICN LAX 1400 0125 Mon21Aug       5          B
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DL122       LAX    HN L   1500     2100      Wed23Aug          7    DH
QF7550      HNL    SYD    1 845    0455      Thu24Aug          8         B              744
FTG         SYD    SYD    22 1 3   2214      Sat26Aug          10
QF7589      SYD    PVG    0945     1154      Sun27Aug          11        B              744
P0998       PVG    ANC    1245     2 1 40    Tue29Aug          13        B              7 44
5Y4136      ANC    CHS    2222     0527      Thu31Aug          15                       7 44
AA1739      CHS    CLT    1657     1806      Fri01Sep          16   DH
AA2055      CLT    ORD    1855     2109      Fri01Sep          16   DH


Crew Complement                                : 1 FO      I

Route updated by user 1919 BARBARA BROAS on 08/30/2017 at 12:21:2 {Aircraft Scheduling/Movement Control)
!Flight   Dep Arr STD     STA  Dep date TripDay DH Lim tblRept Debr AC      Hotel                    f nd
QF7 558   ORD LAX 0910 1300 Thul 7Aug      1                          7 44
DL4969    LAX SFO 1 800 1933 Thul 7Aug     1     DH
 5Y2838   SFO ICN 1 000 2 1 45 Sun20Aug    4          B               7 44
5Y2848    ICN LAX 1400 0 1 25 Mon21Aug     5          B               744
DL122     LAX HNL 1500 2100 Wed23Aug       7     DH
QF7550    HNL SYD 1845 0455 Thu24Aug       8          B               744
 FTG      SYD SYD 2213 2214 Sat26Aug       10
QF7589    SYD PVG 0945 11 54 Sun27Aug      11         B               744
 P0998    PVG ANC 1245 2 1 40 Tue29Au g    13         B               744
 5Y4136   ANC CHS 2225 0530 Thu31Aug       15                         744
AA1739    CHS CLT 1657 1806 Fri 01Sep      16     DH
AA2055    CLT ORD 1855 2109 Fri OlSep      16     DH


Crew Complemen t                               : 1 FO      I

Route updated by user 1433 YAN KRAVETS on 08/30/2017 at 23:25:6 {Flight Schedule Changes)
jFlight   Dep Arr STD      STA  Dep date TripDay DH Lim tbl Rept Debr AC    Hotel
QF7558    ORD LAX 0910 1300 Thul7Aug       1                           744
 DL4969   LAX S FO 1800 1933 Thul 7Aug     1      DH
5Y2838    SFO I CN 1000 2145 Sun20Aug      4          B                744
5Y2848    ICN LAX 1400 0125 Mon21Aug       5          B                744
DL1 22    LAX HN L 1 500 2100 Wed23Aug     7      DH
QF7550    HNL SY D 1 8 4 5 0455 Thu24Aug   8          B                744
 FTG      SYD SYD 22 1 3 22 14 Sat26Aug    10
QF7589    SYD PVG 0945 115 4 Sun27Aug      11         B                7 44
 P0998    PVG ANC 1245 2140 Tue29Aug       13         B                744
 5Y4136   ANC CHS 2225 0530 Thu31Aug       15                          744
AA2036    CHS CLT 1 830 1935 Fr i 01Sep    16     DH
AA1381    CLT ORD 2020 2235 Fri 0 1 Sep    16     DH


Crew Complement                                : 1 FO      I

Route updated by user 225 DARRELL GORDON on 08/30/2017 at 23 :27 : 7 (Aircraft Scheduling/Movement Control)
!Flight   Dep Arr STD     STA   Dep date TripDay DH Lim tbl Rept Debr AC       Hotel                    § nd
QF7558    ORD LAX 09 1 0 1300 Th u l 7Au g 1                             744
DL4969    LAX S FO 1 800 1933 Thul 7Aug    1     DH
 5Y2838   SFO ICN 1 000 2145 Sun20Aug      4          B                  744
 5Y2848   ICN LAX 1 400 0125 Mon21Aug      5          B                  744
DL122     LAX HNL 1 500 2100 Wed23Aug      7     DH
QF7550    HNL SYD 1 845 0455 Thu24Aug      8          B                  744
 FTG      SYD SYD 22 1 3 22 1 4 Sat26Aug   10
QF7589    SYD PVG 0945 1154 Sun27Aug       11         B                  744
 P0998    PVG ANC 1 245 2140 Tue29Aug      13         B                  744
5Y4136      ANC    CHS    2225     0530      Thu31Aug          15                       744
AA2036       CHS   CLT    1 830    1935      Fr i Ol Sep       16   DH
AA1381       CLT   ORD    2020     2235      Fri0 1Sep         16   DH
                                                                                                    46.13
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Crew Complement                                1 FO    I
Status : UNFINALIZED


Route updated by user 190 WILBERT ORTIZ on 08/30/2017 at 23 : 59 : 57 (Crew Routes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC          Hotel
QF7558      ORD    LAX    09 10   1300     Thul 7Aug       1                          744
DL4969      LAX    SFO    1800    1933     Thul 7Aug       1    DH
5Y2838      SFO    ICN    1 000   2145     Sun20Aug        4         B                744
5Y2848      ICN    LAX    14 00   0125     Mon21Aug        5         B                744
DL122       LAX    HNL    1500    2100     Wed23Aug        7    DH
QF7550      HNL    SYD    1845    0455     Thu24Aug        8         B                744
FTG         SYD    SYD    2213    2214     Sat26Aug        10
QF7589      SYD    PVG    0945    1154     Sun27Aug        11        B                744
P0998       PVG    ANC    12 45   2140     Tue29Aug        13        B                744
5Y4136      ANC    CHS    0425    1130     Fri01Sep        16                         744
UA3660      CHS    ORD    1 535   17 59    Fri01Sep        16   DH


Crew Complement                              : 1 FO    I

Route updated by user 1919 BARBARA BROAS on 08/31/2017 at 12:18:34 (Aircraft Scheduling/Movement
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel                      f nd
QF7 558     ORD    LAX    0910 1300        Thul 7Aug       1                          7 44
DL4969      LAX    SFO    1800 1933        Thul 7Aug       1    DH
5Y2838      SFO    ICN    1000 2145        Sun20Aug        4         B                744
5Y2848      ICN    LAX    1400 0125        Mon21Aug        5         B                744
DL122       LAX    HNL    1500 2100        Wed23Aug        7    DH
QF7550      HNL    SYD    1845 0455        Thu24Aug        8         B                744
FTG         SYD    SYD    2213 22 1 4      Sat26Aug        10
QF7589      SYD    PVG    0945 1154        Sun27Aug        11        B                744
P0998       PVG    ANC    1245 21 40       Tue29Aug        13        B                744
5Y4136      ANC    CHS    0440 1145        Fri01Sep        16                         744
UA3660      CHS    ORD    1535 17 59       Fri 01Sep       16   DH


Crew Compl ement                             : 1 FO    I

Route updated by user 1342 THELMA BRADLEY on 08/31/2017 at 23:38:1 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel
QF7558      ORD    LAX    0910    1300 Thul 7Aug           1                          744
DL4969      LAX    SFO    1800    1933 Thul 7Aug           1    DH
5Y2838      SFO    I CN   1000    2145 Sun20Au g           4         B                744
5Y2848      ICN    LAX    1400    0125 Mon21Aug            5         B                744
DL122       LAX    HNL    1500    2100 Wed23Aug            7    DH
QF7550      HNL    SYD    1845    0455 Thu24Aug            8         B                744
FTG         SYD    SYD    2213    22 14 Sat26Aug           10
QF7589      SYD    PVG    0945    1154 Sun2 7Aug           11        B                744
P0998       PVG    ANC    1245    2140 Tue29Aug            13        B                744
5Y534       ANC    ORD    0910    1445 Fri01Sep            16   DH                    744


Crew Complement                              : 1 FO    I

Route updated by user 1342 THELMA BRADLEY on 08/31/2017 at 23:41:4 (Flight Schedule Changes)
!Flight   Dep Arr STD     STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel
QF7 558     ORD    LAX    0910    1300     Thul 7Aug       1                          7 44
DL4969       LAX   SFO    1800    1933     Thul 7Aug       1    DH
5Y2838       SFO   ICN    1000    2145     Sun20Aug        4         B                744
5Y2848       ICN   LAX    1 400   0125     Mon21Aug        5         B                744
DL122        LAX   HNL    1500    2100     Wed23Aug        7    DH
                                                                                                  46.14
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QF7550       HNL     SYD    1845     0455      Thu24Aug        8         B                 744
FTG          SYD     SYD    2213     2214      Sat26Aug        10
QF7589       SYD     PVG    0945     1154      Sun27Aug        11        B                 744
P0998        PVG     ANC    12 4 5   2140      Tue29Aug        13        B                 744
MED          ANC     ANC    2340     2359      Thu31Aug        15
5Y534        ANC     ORD    0910     1445      Fri01Sep        16   DH                     744


Crew Complement                                  : 1 FO    I

Route updated by user 225 DARRELL GORDON on 09/01/2017 at 0 : 33 : 55 (Aircraft Scheduling/Movement
!Flight   Dep Arr STD     STA  Dep date TripDay DH Lim tbl Rept Debr AC        Hotel
QF7558       ORD     LAX    0910     1300      Thul 7Aug       1                           744
DL4969       LAX     SFO    1800     1933      Thul 7Aug       1    DH
5Y2838       SFO     I CN   1000     2145      Sun20Aug        4         B                 744
5Y2848       I CN    LAX    1400     0125      Mon21Aug        5         B                 744
DL122        LAX     HN L   1500     2100      Wed23Aug        7    DH
QF7550       HNL     SYD    1845     0455      Thu24Aug        8         B                 744
FTG          SYD     SYD    2213     22 1 4    Sat26Aug        10
QF7589       SYD     PVG    0945     11 54     Sun27Aug        11        B                 744
P0998        PVG     ANC    1245     2140      Tue29Aug        13        B                 744
MED          ANC     ANC    2340     2359      Thu31Au g       15
5Y534        ANC     ORD    0931     1506      Fri 01Sep       16   DH                      744


Crew Complement                                  : 1 FO    I

Route updated by user 1342 THELMA BRADLEY on 09/01/2017 at                      1 : 05:30 (Flight Schedule Changes)
!Flight      Dep     Arr    STD      STA       Dep date TripDay DH       Lim tbl Rept Debr AC     Hotel
QF7 558      ORD     LAX    0910     1300      Thul 7Aug   1                               7 44
DL4969       LAX     SFO    1800     1933      Thul 7Aug   1    DH
 5Y2838      SFO     ICN    1000     2145      Sun20Aug    4             B                  744
 5Y2848      I CN    LAX    1400     0125      Mon21Aug    5             B                  744
DL122        LAX     HNL    1500     2100      Wed23Aug    7    DH
QF7550       HN L    SYD    1845     0455      Thu24Aug    8             B                  744
 FTG         SYD     SYD    2213     2214      Sat26Aug    10
QF7589       SYD     PVG    0945     1154      Sun27Aug    11            B                  744
 P0998       PVG     ANC    1245     2140      Tue29Aug    13            B                  744
MED          ANC     ANC    2340     2359      Thu31Aug    15
 P0752       ANC     CVG    1315     1 925     Fr i0 1 Sep 16   DH                          744
DL3847       CVG     ORD    2145     2304      Fri01Sep    16   DH


Crew Comp l e ment                               : 1 FO    I

Route updated by user 1433 YAN KRAVETS on 09/01/2017 at 9 : 49:40 (Flight -Schedule Changes)
!Flight   Dep Arr STD     STA  Dep date TripDay DH Lim tbl Rept Debr AC       Hotel
QF7558       ORD     LAX    0910     1300      Thul 7Aug       1                            744
DL4969       LAX     SFO    1800     1933      Thul 7Aug       1    DH
5Y2838       SFO     ICN    1000     2145      Sun20Aug        4         B                  744
5Y2848       I CN    LAX    1400     0125      Mon21Aug        5         B                  744
DL122        LAX     HNL    1500     2100      Wed23Aug        7    DH
QF7550       HNL     SYD    1845     0455      Thu24Aug        8         B                  744
FTG          SYD     SYD    2213     2214      Sat26Aug        10
QF7589       SYD     PVG    0945     1154      Sun27Aug        11        B                  744
P0998        PVG     ANC    1245     2140      Tue29Aug        13        B                  744
MED          ANC     ANC    2340     2359      Thu31Aug        15
TBA752       ANC     CVG    1315     1925      FriOlSep        16   DH
TBA3847      CVG     ORD    2145     2304      FriOlSep        16   DH


Crew Complement                                  : 1 FO    I

                                                                                                                      46.15
